Case 1:24-cr-00028-NRM        Document 36       Filed 11/08/24     Page 1 of 1 PageID #: 211
                           DAWN M. FLORIO LAW FIRM, PLLC
                              Attorney & Counselors at Law
                             488 Madison Avenue, 20th Floor
                                  New York, NY 10022
                               Telephone: (212) 939-9539
                                Facsimile: (347) 398-8062
                               DawnMFlorio@yahoo.com




                                                              November 8, 2024

   VIA ECF
   Honorable Justice Nina R. Morrison
   United States District Court
   225 Cadman Plaza East ,, 6E North
   Brooklyn, New York 11201

                                RE:     United States v. Isaiah Dukes
                                        1::24-cr-00028-NRM

   Judge Nina R. Morrison;

         I, Dawn M. Florio, attorney at law, represented Isaiah Dukes who was sentenced
   on November 7, 2024.

         As per your Honor’s request, below is the Federal Penitentiary in which Mr.
   Dukes would like the Court to consider this location:

                                FCI THOMSON
                                1100 One Mile Road
                                Thomson, IL 61285
          I am requesting that this application be acknowledged and considered.
           Should your Honor have any questions or concerns, please feel free to contact my
   office at your earliest convenience.

                                                      Sincerely,

                                                      Dawn M. Florio

                                                      Dawn M. Florio, Esq.
                                                      Attorney for Isaiah Dukes

   CC:    All Counsel
